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                              IN THE UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF TEXAS
                                     SAN ANTONIO DIVISION


 LA UNION DEL PUEBLO ENTERO, et al.,                §
       Plaintiffs,                                  §
                                                    §
     v.                                             §    Case No. 5:21-cv-844-XR
                                                    §
     GREGORY W. ABBOTT, et al.,                     §
          Defendants.                               §




     STATE DEFENDANTS’ MOTION IN LIMINE TO EXCLUDE DR. DANIEL SMITH’S ADDENDUM,
                          AMEER PATEL, AND DR. KARA AYERS

          Defendants Gregory W. Abbott, in his official capacity as Governor of Texas; Jane Nelson, in

her official capacity as Secretary of State; Angela Colmenero, in her official capacity as Provisional

Attorney General of Texas; and the State of Texas (“State Defendants”) file this Motion in Limine to

exclude Dr. Daniel Smith’s Addendum to his Third Supplemental Report, the testimony of Ameer

Patel to the extent that it exceeds the discovery responses he signed or verified, and the entirety of

Dr. Kara Ayers’ testimony and deposition designations.

                                               ARGUMENT
I.        This Court Should Exclude Dr. Daniel Smith’s Addendum to the Third Supplemental
          Report.

          On the eve of trial, Plaintiffs served a last-minute substantive addition to Dr. Daniel Smith’s

Third Supplemental Report. This Court should exclude the addendum because it violates the Federal

Rules of Civil Procedure and prejudices State Defendants by failing to provide notice to State

Defendants, much less an adequate opportunity to respond. Under the Federal Rules of Civil

Procedure, a disclosure requires the party to specifically disclose “the name and, if known, the address

and telephone number of each individual likely to have discoverable information—along with the subjects


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of that information—that the disclosing party may use to support its claims or defenses.” Fed. R. Civ. P.

26(a)(1)(A)(i) (emphasis added). And under these rules, the information an expert must disclose

includes “a complete statement of all opinions the witness will express and the basis and reasons for

them.” Fed. R. Civ. P. 26(a)(2)(B)(i) (emphasis added).

        Here, that has not happened. Rather, Plaintiffs disregarded this Court’s deadlines by

submitting a substantive addendum that contains new tables and opinions; they thus failed to provide

State Defendants with an opportunity to test the veracity of this addendum or even prepare for Dr.

Smith’s new opinions when trial is only days away. State Defendants had previously agreed to allow

Dr. Smith to submit his Third Supplemental Report well after the close of expert discovery on the

condition that State Defendants be allowed to depose Dr. Smith once his report was finalized. see Ex.

A (May 5, 2023 Letter). That deposition was taken July 6, 2023. Over a month later, on August 16,

2023—after the Parties exchanged pretrial disclosures—Plaintiffs sought to update the report with

new information and analyses. Because of the late hour, a remedy in this instance is unavailable.

        Accordingly, the addendum should be excluded. Plaintiffs’ “explanation for its failure to

disclose the evidence” is weak at best; “the importance” of this addendum is minimal, while “the

potential prejudice” to State Defendants is significant now that the State Defendants must scramble

to prepare for and challenge Dr. Smith’s analysis without the benefit of discovery; and there is no

availability for a continuance since trial is in ten days. See CQ, Inc. v. TXU Min. Co., L.P., 565 F.3d 268,

280 (5th Cir. 2009).

II.     This Court Should Exclude Ameer Patel’s Testimony to the Extent It Exceeds His
        Discovery Responses.

        The Court should exclude Mr. Patel’s testimony because Plaintiffs failed to disclose and

designate him. Indeed, the pretrial disclosures represent the first time Mr. Patel appeared on any of

Plaintiffs’ witness disclosure lists as an individual likely to have discoverable information. Prior to the

pretrial disclosures, Mr. Patel’s only apparent connection to this case was as a signatory to some

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interrogatory responses for Plaintiff Voto Latino. However, this cursory reference is far from

sufficient to constitute adequate notice, given the breadth of Plaintiffs’ initial and supplemental

disclosures and the limited number of depositions allocated to each side. The Court, itself, recognized

this dilemma at the November 16, 2021, status conference, where it noted that Plaintiffs identified

165 individuals in their initial disclosures and advised the Parties to delineate their Tier 1 and Tier 2

individuals to help better organize reasonable discovery. State Defendants therefore rely on Plaintiffs’

implicit representation that Mr. Patel was not relevant to their case in chief.

        In addition, although State Defendants did not depose a similar witness named Maria Teresa

Kumar (“Ms. Kumar”) in this case, whom Plaintiffs initially disclosed on behalf of Plaintiff Vote

Latino, State Defendants made this decision, in large part, because State Defendants had already

deposed Ms. Kumar in a separate, but similar, election case. Had Plaintiffs designated Mr. Patel

instead, State Defendants would have been presented with a different caliculus and likely would made

a different choice in who to depose. Because State Defendants relied on Plaintiffs’ previous

representations and noticed depositions where appropriate, allowance of Mr. Patel’s testimony now

would effectively constitute trial by ambush. To avoid any resulting prejudice, this Court should limit

Mr. Patel’s testimony to the discovery responses and objections that he signed or verified.1

III.    This Court Should Exclude the Entirety of Dr. Kara Ayers’ Deposition Designations
        and Testimony.

        This Court should exclude the entirety of Dr. Kara Ayers’ deposition designations and

testimony for two reasons. First, Private Plaintiffs failed to designate her as an expert witness. And

second, any testimony or evidence from Dr. Kara is legally irrelevant. State Defendants discuss each

objection in turn.


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 State Defendants and LULAC Plaintiffs are currently negotiating the scope of Mr. Patel’s testimony.
Because of the deadline, State Defendants file this motion in limine to preserve their objection. In the
event the parties reach agreement without the need for court intervention, State Defendants will notify
the Court of the resolution.
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        First, Private Plaintiffs made the fatal mistake of failing to designate Dr. Ayers as an expert

witness. This mistake is fatal because Private Plaintiffs may not now use evidence from an expert

witness that they neither designated nor disclosed, especially when State Defendants relied on Private

Plaintiffs’ representations and noticed depositions where appropriate based on the expedited

discovery window, the limit on the number of depositions, and the sheer number of witnesses

disclosed by the parties. State Defendants thus object to the use of any of Dr. Ayers’ testimony because

Plaintiffs failed to overcome the Fifth Circuit’s four-factor standard for excluding expert testimony.

See Sierra Club, Lone Star Chapter v. Cedar Point Oil Co. Inc., 73 F.3d 546, 572 (5th Cir. 1996). Specifically,

(1) Plaintiffs did not explain the reason for their failure to comply with designation and disclosure

rules; (2) Dr. Ayers’ testimony is unimportant and, as discussed below, even irrelevant; (3) there would

be significant prejudice in allowing such unnecessary testimony when Plaintiffs’ have disclosed

hundreds of other witnesses and thousands of exhibits; and (4) any continuance is likely unavailable

now that we are on the eve of trial. See id.

        Second, despite Private Plaintiffs’ failure to designate Dr. Ayers, Dr. Ayers’ testimony should

further be excluded because she has only ever been designated on claims that no longer remain in the

case. Indeed, while the United States originally designated Dr. Ayers to “testify regarding the impact

of the revised voter assistance oath in SB 1 on voters with disabilities.,” see ECF No. 293, they

subsequently agreed to not use her as an expert because Judge Robert L. Pitman entered an order on

June 6, 2022, in the separate matter of OCA Greater Houston v. State of Texas, 1:15-CV-679-RP (W.D.

Tex.) that enjoined several of the voter assistance provisions in the Texas Election Code, including

provisions relating to the oath of assistance, see ECF No. 438. As a result, any testimony from Dr.

Ayers would now be legally irrelevant because it would not have any tendency to make a fact of

consequence in this case more or less probable when no such fact of consequence even exists on a

moot claim. See Fed. R. Evid. 401; see also Manson v. B&S Trucking of Jackson, LLC, No. SA-21-CV-


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01181-XR, 2023 WL 3170494, at *7 (W.D. Tex. May 1, 2023) (Rodriguez, J.) (stating that, when certain

claims have been dismissed, “opinions by [the expert witness] on all these subjects are no longer relevant”

(emphasis added)). Accordingly, Dr. Ayer’s testimony and deposition designations are inadmissible

and should be excluded.

                                             CONCLUSION

        For these reasons, the Court should sustain State Defendants’ objections and exclude Dr.

Smith’s addendum to his Third Supplemental Report, Mr. Ameer Patel’s testimony, and Dr. Ayer’s

testimony and deposition designations.




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 Date: September 1, 2023                      Respectfully submitted.

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                                    CERTIFICATE OF SERVICE

     I certify that a true and accurate copy of the foregoing document was filed electronically (via
CM/ECF) on September 1, 2023, and that all counsel of record were served by CM/ECF.
                                              /s/ Kathleen T. Hunker
                                              KATHLEEN T. HUNKER




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